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Invoice submitted to:                                                               Fed ID # XX-XXXXXXX


Committee of Unsecured Creditors' Committee
.

Invoice Date:   February 20, 2013
062429     062429 Residential Capital, LLC- Counsel to Creditors' Committee
                  File # 062429
Invoice #    91438
             Professional services
                                                                                  Hours          Amount
        Case Administration
12/01/12     BWP        Review email from Yolanda Rucker to SA ResCap             0.30              45.00
                        Borrower address; draft response to same
12/03/12     RJF        Review correspondence from Amy Lewis enclosing            0.10              55.00
                        email and call log from 11/30/12
12/03/12     RJF        Prepare email correspondence to Brian Powers              0.10              55.00
                        regarding Borrower Motion to Certify Class Claim
12/03/12     RJF        Review correspondence from Brian Powers                   0.10              55.00
                        responding to my email relating to Borrower Motion
                        to Certify Class Claim
12/03/12     RJF        Telephone call from unknown caller regarding              0.20            105.00
                        borrower inquiry
12/03/12     BP         Confer with Brian W. Powers regarding pending             0.20              39.00
                        class action filed against the Debtors; discuss the
                        status of certification of the class action and how the
                        Debtors chapter 11 case may be affected; project
                        possible issues that may arise as to borrowers
                        claims in the class action
12/03/12     BWP        Telephone call from John Smith on SA ResCap               0.30              45.00
                        hotline regarding bankruptcy process
12/03/12     BWP        Telephone call from Jeff Rager on SA ResCap               0.20              30.00
                        hotline regarding bankruptcy process
12/03/12     BWP        Telephone call from Edward Morris on SA ResCap            0.20              30.00
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                       hotline regarding bankruptcy process
12/03/12    BWP        Review various emails from Committee counsel re:                  0.30             45.00
                       Rowena Drennen Motion to Certify Class Claim
12/03/12    BWP        Confer with Berlinda Pierre-Louis regarding pending               0.20             30.00
                       class action filed against the Debtors; discuss the
                       status of certification of the class action and how the
                       Debtors chapter 11 case may be affected; project
                       possible issues that may arise as to borrowers
                       claims in the class action
12/03/12    BWP        Review filed supplemental affidvait of service of bar             0.20             30.00
                       date notice
12/03/12    BWP        Review motion of Rowena Drennen to certify class                  1.40           210.00
                       claim and memorandum of law regarding same (.9);
                       draft memorandum to Ronald J. Friedman re: same
                       (.5)
12/04/12    RJF        Review correspondence from Rachael Ringer                         0.10             55.00
                       regarding Committee call/meeting
12/04/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             55.00
                       email and call log from 12/4/12
12/04/12    BP         Review correspondence from Elisa Coccia regarding                 0.20             39.00
                       e-mail inquiry received regarding regarding
                       bankruptcy process; draft reply
12/04/12    BWP        Telephone call from Myrlende Roumain on SA                        0.10             15.00
                       ResCap hotline regarding bankruptcy process
12/04/12    BWP        Telephone call from Jay P. Slowey on SA ResCap                    0.30             45.00
                       hotline regarding bankruptcy process
12/04/12    BWP        Telephone call from Unknown Caller on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
12/05/12    RJF        Review correspondence from Doug Mannal                            0.10             55.00
                       regarding next Committee call
12/05/12    BP         Review e-mail log from December 4, 2012; draft                    0.30             58.50
                       e-mail to Maria Konstantopoulos in response to
                       inquiry regarding bankruptcy process
12/05/12    BWP        Telephone call from Cindy Juhl on SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
12/05/12    BWP        Telephone call from Linda Bailey on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
12/05/12    BWP        Review objection of Debtors to class certification                2.70           405.00
                       motion; draft memo to Ronald J. Friedman re: same
12/05/12    BWP        Review Epiq call and email logs in connection with                0.40             60.00
                       ensuring responses have been given to same
12/06/12    RJF        Review correspondence from Peter McElvain                         0.10             55.00
                       regarding Morgan Stanley
12/06/12    RJF        Review correspondence from Rachael Ringer                         0.10             55.00
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                       regarding Morgan Stanley
12/06/12    RJF        Review correspondence from Peter McElvain of                        0.10             55.00
                       Allstate regarding Morgan Stanley
12/06/12    RJF        Review correspondence from Amy Lewis enclosing                      0.10             55.00
                       Email and Call Log for 12/5/12
12/06/12    RJF        Review correspondence from Stephen Zide                             0.10             55.00
                       regarding Wall Street Journal Article regarding
                       Mortgage-Practice Monitor
12/06/12    BP         Review e-mail from Maria Konstanpoulos regarding                    0.30             58.50
                       whether her company has funded the Debtors or if
                       her company has invested with any of the Debtors;
                       reply to e-mail
12/06/12    BWP        Telephone call from Keith Caudill on SA ResCap                      0.10             15.00
                       hotline regarding bankruptcy process
12/06/12    BWP        Telephone call from Ed Wortman on SA ResCap                         0.20             30.00
                       hotline regarding bankruptcy process
12/07/12    RJF        Review correspondence from Amy Lewis enclosing                      0.10             55.00
                       call log from 12/6/12
12/07/12    BP         Confer with Brian Powers regarding borrower issues                  0.10             19.50
                       surrounding Home Equity Line of Credit and its
                       status as of petition date; discuss its effects on
                       borrowers
12/07/12    BWP        Telephone call from Joe Ruffino on SA ResCap                        0.30             45.00
                       hotline regarding bankruptcy process
12/07/12    BWP        Telephone call from Steven Small on SA ResCap                       0.30             45.00
                       hotline regarding bankruptcy process
12/07/12    BWP        Confer with Berlinda Pierre-Louis regarding borrower                0.10             15.00
                       issues regarding HELOCs
12/10/12    RJF        Review correspondence from Tim Conklin enclosing                    0.10             55.00
                       call log from 12/7/12
12/10/12    BWP        Telephone call from Mark Dubois on SA ResCap                        0.20             30.00
                       hotline regarding bankruptcy process
12/11/12    RJF        Review correspondence from Brian Powers                             0.10             55.00
                       regarding objection to fees by the United States
                       Trustee
12/11/12    RJF        Review correspondence from Amy Lewis enclosing                      0.10             55.00
                       email log for ResCap from 12/10
12/11/12    RJF        Review correspondence from Rachael Ringer                           0.10             55.00
                       enclosing a brief overview of the ways in which we
                       believe special regulatory counsel will be able to
                       assist the Committee
12/11/12    BWP        Telephone call from Herbert Daniels on SA ResCap                    0.30             45.00
                       hotline regarding bankruptcy process
12/11/12    BWP        Review correspondence from Mike Wilen to SA                         0.20             30.00
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                       ResCap borrower email address (.1); draft response
                       to same (.1)
12/12/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             55.00
                       Email and Call Log from 12/11/12
12/12/12    BWP        Telephone call from Joseph Ruffino on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
12/12/12    BWP        Telephone call from Amanda at Kensington                        0.10             15.00
                       Vanguard on SA ResCap hotline regarding
                       bankruptcy process
12/13/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding Committee update
12/13/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             55.00
                       email log from 12/12/12
12/13/12    BWP        Telephone call from Gina Dominique on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
12/14/12    BP         Telephone call with Lisa Baker regarding Proof of               0.20             39.00
                       Claim notice received
12/17/12    RJF        Review correspondence from Rachael Ringer update                0.10             55.00
12/17/12    RJF        Conference with Brian Powers regarding pending                  0.10             55.00
                       adversary proceedings
12/17/12    RJF        Confer with Brian Powers regarding open adversary               0.10             52.50
                       proceedings in Debtors' case in connection with
                       resolution of borrower issues in same
12/17/12    BP         Confer with Brian Powers regarding e-mails from                 0.30             58.50
                       Nelil Larkin regarding foreclosure in Oregon; discuss
                       status of Debtors’ case and adversary proceedings
                       filed by borrowers of the Debtors; discuss possible
                       resolution of borrower issues in related adversary
                       proceedings
12/17/12    BWP        Telephone call from Salvador Macias on SA ResCap                0.10             15.00
                       hotline regarding bankruptcy process
12/17/12    BWP        Confer with Berlinda Pierre-Louis regarding e-mails             0.30             45.00
                       from Neil Larkin regarding foreclosure in Oregon;
                       discuss status of case and adversary proceedings
                       filed by borrowers of the Debtors; discuss possible
                       resolution of borrower issues in related adversary
                       proceedings
12/17/12    BWP        Review emails from Neil Larkins to SA ResCap                    0.30             45.00
                       borrower email address (.2); draft response to same
                       (.1)
12/17/12    BWP        Review open adversary proceedings in Debtors' case              0.50             75.00
                       in connection with borrower issues in same
12/17/12    BWP        Confer with Ronald J. Friedman re: open adversary               0.10             15.00
                       proceedings in Debtors' case in connection with
                       resolution of borrower issues in same
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12/17/12    BWP        Review fax from Neil Larkins regarding his mortgage             0.30             45.00
                       and effect of bankruptcy (.1); telephone call to same
                       in response (.2)
12/18/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             55.00
                       call log from 12/17/12
12/18/12    RJF        Review correspondence from Kenneth Eckstein                     0.10             55.00
                       regarding meetings with AFI
12/18/12    BWP        Telephone call from Alex Deroezk on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
12/18/12    BWP        Telephone call from Aerris Koplin on SA ResCap                  0.40             60.00
                       hotline regarding bankruptcy process
12/19/12    RJF        Prepare email correspondence to Doug Mannal                     0.10             55.00
                       regarding adversary proceedings
12/19/12    RJF        Review correspondence from Doug Mannal                          0.10             55.00
                       regarding class claim
12/19/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding meeting
12/19/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding 12/20/13 hearing
12/19/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding agenda for hearing
12/19/12    RJF        Review correspondence from Rachael Ringer                       0.25           131.25
                       regarding agenda and preparations for hearing
12/19/12    BP         Telephone call with Charles Turner regarding Proof              0.20             39.00
                       of Claim notice and discuss reasons why he would
                       need to file a claim, if any reasons exist
12/19/12    BP         Update call log chart                                           0.20             39.00
12/19/12    BWP        Telephone call from David Caine on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
12/20/12    RJF        Review correspondence from Elise Frejka enclosing               0.10             55.00
                       stay relief, foreclosures spreadsheet and case
                       calendar
12/20/12    RJF        Prepare email correspondence to Rachael Ringer                  0.10             55.00
                       regarding hearing
12/20/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             55.00
                       email and call log for 12/19/12
12/20/12    RJF        Review correspondence from Justin S. Krell                      0.10             55.00
                       regarding hearing
12/20/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding analysis of borrower claims
12/20/12    RJF        Review correspondence from Brian Powers                         0.10             55.00
                       regarding analysis of borrower claims
12/20/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
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                       regarding analysis of borrower claims
12/20/12    RJF        Review correspondence from Rachael Ringer                          0.10             55.00
                       regarding update on various relief from stay matters
12/20/12    JSK        Prepare for and attend hearings in connection with                 8.00           2,480.00
                       motions regarding exclusive periods to file a plan,
                       appointment of a plan mediator, various lift stay
                       motions and several pretrial conferences; confer with
                       Ronald J. Friedman regarding same
12/20/12    BWP        Telephone call from Edward Yule on SA ResCap                       0.10             15.00
                       hotline regarding bankruptcy process
12/20/12    BWP        Telephone call from Shandra Sanfilipo on SA                        0.10             15.00
                       ResCap hotline regarding bankruptcy process
12/20/12    BWP        Telephone call from Harold Walter on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
12/20/12    BWP        Review complaint and Debtors' motion to dismiss in                 0.50             75.00
                       Van Wagner v. Residential Funding Company, LLC,
                       et al. (Adv. Proc. No. 12-01913 (MG)) in connection
                       with pretrial conference; draft memorandum to Justin
                       S. Krell re: same
12/20/12    BWP        Review complaint, Debtors' motion to dismiss, and                  0.70            105.00
                       plaintiff's response in Williams v. GMAC Mortgage,
                       LLC, et al. (Adv. Proc. No. 12-01896 (MG)) in
                       connection with hearing on motion to dismiss; draft
                       memo to Justin S. Krell re: same
12/20/12    BWP        Review Balensiefer, Raja, and Donaghy motions for                  0.60             90.00
                       relief from the automatic stay in connection with
                       hearings on same; draft memorandum to Justin S.
                       Krell re: same
12/20/12    BWP        Confer with Justin S. Krell re: 12/20 hearing on lift              0.20             30.00
                       stay motions and motions to dismiss and relevant
                       issues in same
12/20/12    BWP        Confer with Justin S. Krell re: open adversary                     0.60             90.00
                       proceedings brought by borrowers and strategies for
                       resolving same
12/20/12    BWP        Confer with Sara Greenberg re: review of adversary                 0.10             15.00
                       proceedings brought by borrowers in connection with
                       resolution of same
12/21/12    RJF        Review correspondence from Amy Lewis regarding                     0.10             55.00
                       email and call log from 12/20/12
12/21/12    RJF        Review correspondence from Hugo Suarez                             0.10             52.50
                       regarding 12/21/2012 call log
12/21/12    JSK        Prepare for and attend conference call with Ronald J.              0.50            155.00
                       Friedman, Elise Frejka and Doug Mannal; confer with
                       Ronald J. Friedman regarding case strategy going
                       forward
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12/21/12    JSK        Review docket and related adversary proceeding                    0.60           186.00
                       relating to Borrower actions [.4]; confer with Brian
                       Powers regarding preparation of litigation chart and
                       updating status of same [.2]
12/21/12    BWP        Review docket and related adversary proceeding                    1.30           195.00
                       relating to Borrower actions [1.1]; confer with Justin
                       S. Krell regarding preparation of litigation chart and
                       updating status of same [.2]
12/26/12    RJF        Review correspondence from Stephen Zide                           0.10             55.00
                       enclosing Committee update
12/26/12    JSK        Confer with Brian Powers re: strategy for handling                0.30             93.00
                       borrower adversary proceedings, analysis of
                       borrower claims, and lift stay motions filed by
                       borrowers
12/26/12    JSK        Confer with Ronald J. Friedman and Brian Powers                   0.20             62.00
                       re: strategy for handling borrower adversary
                       proceedings, analysis of borrower claims, and lift
                       stay motions filed by borrowers
12/26/12    BP         Review e-mail from Rachel Ringer of Kramer Levin                  0.50             97.50
                       regarding status of case
12/26/12    BP         Confer with Brian Powers regarding status of case;                0.50             97.50
                       discuss upcoming schedule in case as to Creditors
                       Committee's roles in Debtors' claims analysis and
                       adversary proceedings filed against Debtors; discuss
                       borrower inquiry regarding issues concerning
                       payment on insurance claim and re-issuance of
                       check wit correct names of payee
12/26/12    BWP        Telephone call from Jason Smith on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
12/26/12    BWP        Telephone call from Joel Burnbaum on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
12/26/12    BWP        Confer with Berlinda Pierre-Louis regarding status of             0.50             75.00
                       case; discuss upcoming schedule in case as to
                       Creditors Committee's roles in Debtors' claims
                       analysis and adversary proceedings filed against
                       Debtors; discuss borrower inquiry regarding issues
                       concerning payment on insurance claim and
                       re-issuance of check with correct names of payee
12/26/12    BWP        Confer with Justin S. Krell re: strategy for handling             0.30             45.00
                       borrower adversary proceedings, analysis of
                       borrower claims, and lift stay motions filed by
                       borrowers
12/26/12    BWP        Confer with Ronald J. Friedman and Justin S. Krell                0.20             30.00
                       re: strategy for handling borrower adversary
                       proceedings, analysis of borrower claims, and lift
                       stay motions filed by borrowers
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12/27/12     RJF          Review correspondence from Walter Curchack                         0.10             55.00
                          regarding escrow
12/27/12     RJF          Review correspondence from Stephen Zide                            0.10             55.00
                          regarding escrow
12/27/12     RJF          Review correspondence from Kimberly Murray                         0.10             55.00
                          enclosing 12/27/13 call log
12/27/12     BP           Confer with Brian Powers regarding litigation chart                0.20             39.00
                          preparation; discuss status of same; review chart
                          with details of lift stay motions filed and follow up
                          required for same
12/27/12     BP           Review e-mail log from 12/26                                       0.10             19.50
12/27/12     BWP          Telephone call from Michael Kalbfleisch on SA                      0.20             30.00
                          ResCap hotline regarding bankruptcy process
12/27/12     BWP          Confer with Berlinda Pierre-Louis regarding litigation             0.20             30.00
                          chart preparation; discuss status of same; review
                          chart with details of lift stay motions filed and follow
                          up required for same
12/28/12     RJF          Review correspondence from Rachael Ringer                          0.10             55.00
                          enclosing daily update
12/28/12     BP           Telephone call with David Daniels regarding letter                 0.20             39.00
                          received regarding refinancing his GMAC mortgage;
                          draft e-mail to Brian Powers regarding same
12/28/12     BP           Telephone call with David Daniels regarding                        0.20             39.00
                          clarification to inquiry concerning possible
                          refinancing of mortgage; update admin chart
                      Subtotal            Case Administration                           36.05            $9,033.75
         Claims Admin/Ob
12/04/12     RJF          Telephone call with Elise Frejka from Kramer Levin                 0.20           105.00
                          regarding borrower concerns and Class Proof of
                          Claim
12/21/12     JSK          Confer with Brian Powers re: analysis of borrower                  0.40           124.00
                          claims and strategy for accomplishing same
12/21/12     BWP          Confer with Justin S. Krell re: analysis of borrower               0.40             60.00
                          claims and strategy for accomplishing same
                      Subtotal            Claims Admin/Ob                                1.00               $289.00
         Fee Objections
12/11/12     BWP          Review omnibus objection of United States Trustee                  1.10           165.00
                          to applications for professional compensation
                      Subtotal            Fee Objections                                 1.10               $165.00
         Litigation
12/04/12     RJF          Telephone call with Norm Rosenbaum regarding                       0.20           105.00
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                       borrower adversary proceedings
12/04/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding Debtors' Opposition To Motion To Apply
                       Bankruptcy Rule 7023
                       And To Certify Class Claims
12/04/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Next Committee Call, Motion to
                       Appoint a Mediator, RMBS Scheduling Order,
                       Executive Compensation Update and Notice of
                       Presentment re: Extension of Time to Assume/Reject
12/04/12    RJF        Review correspondence from Rachael Ringer                      0.70           367.50
                       enclosing Debtors response to the class cert motion
12/05/12    RJF        Review pending adversary proceedings in                        0.50           262.50
                       anticipation of committee call
12/05/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding committee call
12/05/12    RJF        Conference with Brian Powers regarding class claim             0.20           105.00
                       motion and borrower issues
12/06/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Revised Mediation Motion, AFI
                       DIP/Cash Collateral Stipulation, Residential Funding
                       of Canada De Minimis Asset Sale and Morgan
                       Stanley Bar Date Extension
12/07/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Executive Compensation
                       Statement, Motion to Appoint a Mediator and Motion
                       to Extend Exclusivity, Article re: Ocwen
12/10/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding Special Regulatory Counsel Interviews
12/11/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Next Committee Call, Letter
                       from AFI and Committee Statement re: Executive
                       Compensation
12/11/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Revised Executive
                       Compensation Pleading and Preliminary Claims
                       Presentation, U.S. Trustee Objection to
                       Professionals’ Fees.
12/14/12    RJF        Review correspondence from Rachael Ringer                      0.10             52.50
                       regarding updates on Revised Statement re:
                       Exclusivity/Mediator, Letter to Kathy Patrick,
                       Objections/Responses to Exclusivity and Mediator
                       Motions and Article re: AFI Response Letter
12/17/12    RJF        Review correspondence from Stephen Zide                        0.10             52.50
                       regarding Debtor and its Advisors’ analysis of FNMA
                       and FHLMC cure claims for ResCap
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12/19/12    RJF        Review correspondence from Rachael Ringer                       0.10             55.00
                       regarding Committee Call and Meeting, Debtors’
                       GSE Cure Claims Analysis, Debtors’ Wind-Down
                       Presentation, Debtors’ Reply to Executive
                       Compensation Objections/Statements, RMBS
                       Scheduling Order, Replies to Mediator/Exclusivity
                       Motion, Debtors’ Reply to RMBS Trustee Rejection
                       Procedures Objections and Meeting Minutes
12/19/12    RJF        Conference with Justin S. Krell regarding preparation           0.25           131.25
                       for and attendance at hearings
12/19/12    RJF        Telephone call from Doug Mannal of Kramer Levin                 0.10             52.50
                       regarding hearings
12/20/12    JSK        Confer with Brian Powers regarding open adversary               0.60           186.00
                       proceedings brought by borrowers in connection with
                       resolving same; review documents in connection with
                       same;
12/20/12    SG         Review open adversary proceedings brought by                    1.00           150.00
                       borrowers, and pleadings therein, in connection with
                       resolution of same
12/20/12    SG         Confer with Brian Powers regarding review of                    0.10             15.00
                       adversary proceedings brought by borrowers in
                       connection with resolution of same
12/20/12    BWP        Review open adversary proceedings brought by                    3.10           465.00
                       borrowers, and pleadings therein, in connection with
                       resolution of same
12/22/12    RJF        Review correspondence from Rachael Ringer                       0.10             52.50
                       regarding Cancelled - Next Week's Committee Call,
                       Hearing Update, Plan Framework Discussion
                       Materials, Plan Framework Discussion Materials, AFI
                       Debt Repayment, Revised RMBS Allocation
                       Formula, Allstate Letter re: Ally Securities, October
                       Operating Report, Mass Mutual Discovery Motion
                       and Meeting Minutes.
12/24/12    RJF        Review correspondence from Stephen Zide                         0.10             52.50
                       regarding ResCap - Committee Update on FHA Loan
                       Sale Motion and Ally Motion to Enforce the
                       Automatic Stay.
12/26/12    RJF        Review correspondence from Stephen Zide                         0.10             52.50
                       regarding committee update on FHA Loan Sale
                       Motion, AIP Motion, AFI Escrow Agreement and
                       November Monthly Operating Report
12/26/12    RJF        Review correspondence from Kimberly Murray                      0.10             52.50
                       enclosing 12/26 ResCap Email log.
12/26/12    BWP        Review adversary proceedings filed by borrowers in              2.40           360.00
                       connection with resolution of same
12/27/12    BWP        Review adversary proceedings filed by borrowers in              5.80           870.00
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                            connection with resolution of same
12/28/12         BWP        Review adversary proceedings filed by borrowers in               3.70            555.00
                            connection with resolution of same (3.6); draft e-mail
                            to Justin S. Krell regarding same (.1)
                         Subtotal            Litigation                                 20.15            $4,414.75

                            For professional services rendered                           58.30          $13,902.50


                                                   Atty/Para Summary

 Name                                                                    Hours         Rate                     Amount
 Friedman, Ronald J                                                        0.00        0.00                        $0.00
 Friedman, Ronald J                                                        4.20      525.00                  $2,205.00
 Friedman, Ronald J                                                        4.30      550.00                  $2,365.00
 Greenberg, Sara                                                           1.10      150.00                     $165.00
 Krell, Justin                                                           10.60       310.00                  $3,286.00
 Pierre- Louis, Berlinda                                                   3.70      195.00                     $721.50
 Powers, Brian W.                                                        34.40       150.00                  $5,160.00
                                                                         58.30                              $13,902.50

Disbursements
            12/31/2012       Pacer charges                                                                      86.70
            12/31/2012       Pacer charges                                                                       4.80
            12/31/2012       Pacer charges                                                                      15.00
                                                                                                     _____________
                                                                                      TOTAL                 $106.50



                                                Disbursement Summary

                   001       Pacer charges                                                            $106.50
                                                                                                      $106.50


Previous Balance                                                                                         $45,645.32

Balance due                                                                                             $59,654.32
